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                                                                                        E-FILED
                                                     Wednesday, 20 December, 2006 04:42:49 PM
                                                                   Clerk, U.S. District Court, ILCD

                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE CENTRAL DISTRICT OF ILLINOIS J                   ~   ~    ,


ERIC BARTHELEMY,                           )
4367 Leonore Drive                         )
Decatur, IL 62526                                                                          '&A,-


        Plaintiff,

v.                                         )
                                           1
NORFOLK SOUTHERN RAILWAY                   )
COMPANY,                                   )
                                           )
        Defendant.                         )
                                           )
Serve: Richard Boyle                       )      JURY TRIAL DEMANDED
       Registered Agent                    )
       5000 West Main Street               )
       Belleville, IL 62223                )
                                           )

                                     COMPLAINT
                            Federal Em~lovers'Liability Act

                                         COUNT I

        COMES NOW Plaintiff, Eric Barthelemy, by and through his attorneys, Rathmann

& O'Brien, L.L.C. and for his cause of action against the Defendant, NORFOLK

SOUTHERN RAILWAY COMPANY (hereinafter referred to as "NORFOLK

SOUTHERN"), a corporation, states:

        1. Plaintiff, Eric Barthelemy, is and was at all times relevant a resident of Decatur,

Illinois.
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       2.     Defendant, Norfolk Southern, is a corporation duly organized and existing

according to law and duly authorized to engage in, and was engaged in, business as a

common carrier by railroad in interstate commerce in the State of Illinois and specifically

in the territory which comprises the United States District Court of the Central District of

Illinois.

       3. Plaintiff was employed by defendant in interstate commerce and, therefore, is

entitled to bring his cause of action set forth below under a federal statute known as the

Federal Employers Liability Act, 45 U.S.C. Section 5 1 et sea.

       4. This District Court has original jurisdiction of this action pursuant to 28 U.S.C.

Section 1331, a federal question arising under the law of the United States of America.

       5. Venue of this action is proper in the United States District Court for the Central

District of Illinois pursuant to the terms of the Federal Employers Liability Act, 45

U.S.C. Section 51 et sea.

       6. That on or about December 30,2005 while employed as an engineer for the

defendant, Norfolk Southern, and during the course of his employment while working in

Decatur, Illinois, plaintiff was seriously and permanently injured when dismounting an

engine, causing plaintiff to be injured.

       7. Plaintiffs hereinafter stated injuries and damages were due in whole or in part

as a result of the negligent acts or omissions of the defendant in one or more of the

following particulars:
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              a)      Failed to provide Plaintiff with a reasonably safe place
                      to work; or

              b)      Failed to provide reasonably safe conditions for work;
                      or

              c)      Failed to provide reasonably safe methods of work; or

              d)      Failed to provide reasonably safe pathways; or

              e)      Failed to follow its own ballast standards concerning the size of
                      ballast used in yards and walkways.

       8. As a result of the aforementioned conduct of the Defendant, Plaintiff was
                                                                                                I




caused to suffer the following serious, painful, and permanent injuries andlor aggravated

a pre-existing condition, to-wit: Plaintiff suffered injuries to his left achilles tendon,

back, left knee and adjacent structures; Plaintiff was caused to undergo medical

treatment, tests, x-rays and surgery for same conditions.

       9. Plaintiff states that, by reason of the foregoing, Plaintiff was required to

undergo necessary medical, therapeutic care and treatment, surgery, and that Plaintiff

incurred and became obligated for the aforesaid care and treatment; Plaintiff will in the

future be caused to expend further such sums for medical treatment

       10. Plaintiff states that as a direct and proximate result of the aforesaid occurrence

and the negligence of Defendant, its agents, servants and employees, Plaintiff sustained

an injury with past wage loss and future loss of earning capacity, loss of enjoyment of

life, mental anguish, pain and suffering. Plaintiffs ability to work, labor, and enjoy the

normal pursuits of life has been impaired and lessened all to Plaintiffs damage in a sum
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to be determined.

       WHEREFORE, Plaintiff, Eric Barthelemy, and for Count I, prays for trial by jury

and judgment against the defendant, Norfolk Southern Railway Company, in a sum fair

and reasonable, in excess of $75,000.00 which is the jurisdictional limit of the Court,

together with his costs expended herein.

                                        COUNT I1

       COMES NOW plaintiff, Eric Barthelemy, by and through his attorneys, Rathmann

& O'Brien, L.L.C., and for Count I1 of his cause of action against the defendant, Norfolk

Southern Railway, a corporation, states:

       11.    Plaintiff restates and realleges paragraphs 1 through 5 of Count I, as if fully

set forth herein.

       12.    That at all times hereinafter mentioned, plaintiff, Eric Barthelemy, was

employed by the defendant, Norfolk Southern Railway Company, in interstate

commerce.

       13.    That since 1967, plaintiff was employed as an engineer for the defendant,

Norfolk Southern, at or near Decatur, Illinois, plaintiff was required to walk and work in

large, oversize ballast and ride on locomotives over rough tracks on defective seats

causing injuries andlor aggravating a pre-existing condition to his back and left knee

causing him to be seriously and permanently injured.
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       14.    Plaintiff states that his injuries and damages were due in whole or in part as

a result of the negligent acts or omissions of the defendant in failing to provide plaintiff

with a reasonably safe place to work in one or more of the following:

                     Failed to provide Plaintiff with a reasonably safe place
                     to work; or

                     Failed to provide reasonably safe conditions for work;
                     or

                     Failed to provide reasonably safe methods of work; or

                     Failed to enact a comprehensive ergonomics
                     program; or

                     Defendant failed to provide reasonably safe equipment or tools for
                     work; or

                     Defendant failed to provide adequate protection from exposure to
                     cumulative trauma; or

                     Defendant failed to provide adequate training; or

                     Defendant failed to provide adequate safety or personal protective
                     equipment; or

                     Defendant failed to warn plaintiff of the danger of exposure to
                     cumulative trauma; or

                     Defendant failed to provide adequate help; or

                     Defendant required plaintiff to repetitively use his back and lower
                     extremities; or

                     Defendant required plaintiff to repetitively use his back and lower
                     extremities in awkward positions and did not warn him of the
                     dangers of so doing; or
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                      Defendant failed to follow the recommendations of the AAR
                      ergonomics studies performed in the late 1980's and early 1990's; or

                      Defendant knew of the risks of repetitive trauma to its employees
                      and failed to warn plaintiff; or

                      Defendant failed to follow the recommendations of its own internal
                      group studying the issue of cumulative trauma; or

                      It failed to provide reasonably safe pathways; or

                     Failed to provide Plaintiff with a reasonably safe place
                     to work; or

                     Failed to provide reasonably safe conditions for work;
                     or

                     Failed to provide reasonably safe methods of work; or

                     Failed to provide reasonably safe pathways; or

                     Failed to follow its own ballast standards concerning the size of
                     ballast used in yards and walkways; or

                     Failed to comply with 49 C.F.R. 213.

       15.    As a result of the aforementioned conduct of the defendants, plaintiff was

caused to suffer the following serious, painful, and permanent injuries, to-wit: plaintiff

suffered injuries to his back, left knee and adjacent structures; plaintiff was caused to

undergo x-rays and painful tests; he was caused to undergo medical treatment; plaintiff

has lost the wages of his employment with defendant and will in the future lose further

such wages; plaintiff has expended or obligated himself for necessary and reasonable

medical expenses and hospital care and will in the future be caused to expend further
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such sums. Plaintiff has suffered pain and suffering and will in the future have pain and

suffering as a result of defendant's negligence. Plaintiffs ability to work, labor, and

enjoy the normal pursuits of life has been impaired and lessened all to plaintiffs damage

in a sum to be determined.

          WHEREFORE, plaintiff prays for trial by jury and judgment against defendant,

Norfolk Southern Railway Company in a sum fair and reasonable, in excess of

$75,000.00 which is the jurisdictional limit of the court, together with his costs expended

herein.

                                          COUNT I11

          COMES NOW plaintiff, Eric Barthelemy, by and through his attorneys, Rathmann

& O'Brien, L.L.C., and for Count 111 of his cause of action against the defendant, Norfolk

Southern Railway Company, a corporation, states:

          16.   Plaintiff restates and realleges paragraphs 1 through 5 of Count I, as if fully

set forth herein.

          17.   That since1967, plaintiff worked for defendant as an engineer

in interstate commerce and was exposed to loud noise which caused hearing loss which

was discovered by plaintiff to be work related in 2006.

          18.     Plaintiff states that his injuries and damages resulted in whole or in part

from the negligent acts or omissions of the Defendant in one or more of the following
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                      Defendant failed to provide Plaintiff with a reasonably safe place to
                      work; or

                      Defendant failed to provide reasonably safe conditions for work; or

                      Defendant failed to provide reasonably safe methods of work; or

                      Defendant failed to enact a comprehensive hearing conservation
                      program; or

                      Defendant failed to provide reasonably safe equipment or tools for
                      work; or

                      Defendant failed to provide adequate hearing protection; or

                      Defendant failed to warn plaintiff of the dangers of the levels of
                      noise he was exposed to at work; or

                       Defendant intentionally or fraudulently hid from plaintiff the levels
                      of noise he was exposed to and the risks to his hearing caused by
                      noise at work; or

                      Defendant failed to follow the recommendations of OSHA or the
                      FRA regarding exposure to noise at work; or

                      Defendant knew of plaintiffs hearing loss and failed to inform him
                      that it was related to exposure to noise at work.

       19.    As a result, in whole or in part, of the aforementioned conduct of the

Defendant, Plaintiff was caused to suffer the following serious, painful, and permanent

injuries, to-wit: Plaintiff suffered injuries to his ears, hearing, and the nerves, soft tissues,

bones and structures of the ears; Plaintiff suffered and will continue to suffer tinnitus and

mental anguish; Plaintiff was caused to undergo medical treatment, tests, therapy and will

require future medical treatment; Plaintiff has lost wages, fringe benefits and will in the
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future lose further such wages and fringe benefits; Plaintiff has expended or obligated

himself for necessary and reasonable medical expenses and hospital care and will in the

future be caused to expend further such sums for medical treatment. Plaintiff has

suffered pain and suffering and will in the future have pain and suffering as a result of

Defendant's negligence. Plaintiffs ability to work, labor, and enjoy the normal pursuits

of life has been impaired and lessened all to Plaintiffs damage.

       WHEREFORE, Plaintiff, Eric Barthelemy, and for Count 111, prays for trial by

jury and judgment against the defendant, Norfolk Southern Railway Company, in a sum

fair and reasonable, in excess of $75,000.00 which is the jurisdictional limit of the Court,

together with his costs expended herein.

                                           RATHMANN & O'BRIEN, L.L.C.

                                           IS/ Patrick S. O'Brien
                                           PATRICK S. O'BRIEN #3 127549
                                           1031 Lami Street
                                           St. Louis, Missouri 63 104
                                           (3 14) 773-3456 (Telephone)
                                           (3 14) 773-7238 (Facsimile)

                                           Attorneys for Plaintiff
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